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 HAWAI‘I DEPARTMENT OF TRANSPORTATION;
 and FORD FUCHIGAMI, DIRECTOR OF HAWAI‘I
 DEPARTMENT OF TRANSPORTATION

                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF HAWAI‘I

 HUI HO‘OMALU I KA ‘ĀINA,                 Civil No. 17-00423-ACK-RLP
 CONSERVATION COUNCIL FOR
 HAWAI‘I; and CENTER FOR                  DEFENDANTS’ NOTICE OF
 BIOLOGICAL DIVERSITY,                    MOTION AND MOTION TO
                                          DISMISS PLAINTIFFS’ AMENDED
                    Plaintiffs,           COMPLAINT
          v.                              Action Filed: August 23, 2017
                                          Judge:        Hon. Alan C. Kay
 HAWAI‘I DEPARTMENT OF
 TRANSPORTATION; FORD
 FUCHIGAMI, DIRECTOR OF
 HAWAI‘I DEPARTMENT OF
 TRANSPORTATION
                    Defendants.




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                    NOTICE OF MOTION AND MOTION TO DISMISS

          PLEASE TAKE NOTICE that as soon as counsel may be heard in the

 courtroom of Judge Alan C. Kay, located at 300 Ala Moana Blvd C-338, Honolulu,

 Hawaii 96850, Defendants Hawai‘i Department of Transportation (HDOT) and

 Ford Fuchigami, Director of HDOT (together “Defendants”) will and do move the

 Court for an order dismissing the Amended Complaint for Declaratory Relief and

 Injunctive Relief (“Amended Complaint”) filed by Plaintiffs Hui Ho‘omalu i Ka

 ‘Āina, Conservation Council for Hawai‘i, and Center for Biological Diversity

 (“Plaintiffs”) on the basis that Plaintiffs have failed to establish subject matter

 jurisdiction under Federal Rule of Civil Procedure 12(b)(1).

          Defendants base this motion on this notice of motion, the supporting

 memorandum of points and authorities, supporting declaration, and such other

 evidence and arguments as Defendants may present on reply and at oral argument.

 Dated: September 22, 2017                      MORGAN, LEWIS & BOCKIUS LLP


                                                By:       /s/ Ella Foley Gannon
                                                            Ella Foley Gannon

                                                Attorneys for Defendants
                                                HAWAI‘I DEPARTMENT OF
                                                TRANSPORTATION; FORD
                                                FUCHIGAMI, DIRECTOR OF
                                                HAWAI‘I DEPARTMENT OF
                                                TRANSPORTATION




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   Re: Hui Ho`omalu i Ka `Ǡina v. Department of Transportation, State of Hawaii
                    Case Number: 1:17-cv-00423-ACK-RLP

         PROOF OF SERVICE BY CM/ECF ELECTRONIC FILING
        I am a citizen of the United States and employed in San Francisco County,
 California. I am over the age of eighteen years and not a party to the within-
 entitled action. My business address is One Market, Spear Street Tower, San
 Francisco, CA 94105-1596.

       On September 22, 2017, I served a copy of the within documents:

              DEFENDANTS’ NOTICE OF MOTION AND
              MOTION TO DISMISS PLAINTIFFS’ AMENDED
              COMPLAINT

 I caused the above documents to be transmitted to the office(s) of the addressee(s)
 listed below by electronic mail at the e-mail address(es) set forth below pursuant to
 Fed.R.Civ.P.5(d)(1). “A Notice of Electronic Filing (NEF) is generated
 automatically by the ECF system upon completion of an electronic filing. The
 NEF, when e-mailed to the e-mail address of record in the case, shall constitute the
 proof of service as required by Fed.R.Civ.P.5(d)(1). A copy of the NEF shall be
 attached to any document served in the traditional manner upon any party
 appearing pro se.”

 Attorneys for Plaintiff                   Attorneys for Plaintiff
 Hui Ho`omalu i Ka `Aina                   Conservation Council for Hawaii

 David L. Henkin                           David L. Henkin
 Earthjustice Legal Defense Fund           Earthjustice Legal Defense Fund
 850 Richards Street, Suite 400            850 Richards Street, Suite 400
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 (808) 599-2436                            (808) 599-2436
 Email: dhenkin@earthjustice.org           Email: dhenkin@earthjustice.org
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 Attorneys for Plaintiff
 Center for Biological Diversity

 David L. Henkin
 Earthjustice Legal Defense Fund
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 Honolulu, HI 96813
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       Executed on September 22, 2017, at San Francisco, California.

        I declare that I am employed in the office of a member of the bar of this
 court at whose direction the service was made.



                                               /s/ Marilyn K. Hom




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